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  AO 245C (Rev. 06/05) Amended Judgment in a Criminal Case                                                                 (NOTE: Identify Changes with Asterisks (*))
          Sheet 1


                                            UNITED STATES DISTRICT COURT
                           MIDDLE                                        District of                                     ALABAMA
           UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN A CRIMINAL CASE
                                V.
                                                                                   Case Number:                      1:07cr210-02-MHT
                       ROSE MCCLA1N                                                                                     (WO)
                                                                                   USM Number:                       1229 1-002
Date of Original Judgment: 3/12/2008                                               Daniel Hamm
(Or Date of Last Amended Judgment)                                                 Defendant's Attorney
Reason for Amendment:
E Correction of Sentence on Remand(18 U.S.C. 3742(0(1) and (2))                    E Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
E] Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                  Ii] Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                            Compelling Reasons (18 U.S.C. § 3582(c)(I))
fl Correction of Sentence by Sentencing Court (Fed. R. Crim. p. 35(a))             [I] Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                      to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                   fl Direct Motion to District Court Pursuant E 28 U.S.C. § 2255 or
                                                                                      fl 18 U.S.C. § 3559(c)(7)
                                                                                   LI Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
X pleaded guilty to count(s) Two of the Indictment on December 4, 2007
IIpleaded nob contendere to count(s) ______________________________________________________________________________________
     which was accepted by the court.
fl was found guilty on count(s) ____________________________________________________________________________________
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                  Nature of Offense                                          Offense Ended        Count
18 USC 641 and 2                 Theft of Government Property and Aiding and Abetting     9/26/2005                 2




       The defendant is sentenced as provided in pages 2                       5                  of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
LIThe defendant has been found not guilty on count(s) _________________________________________________________________
X Count(s)               1, 3, 4, and 5           LI is x are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                   March 6, 2008
                                                                                   Date of Imposition of Judgment
                                                                                            Th.




                                                                                   Jgnature of Judge
                                                                                   MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                                   Name and Title of Judge


                                                                                   Dat
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AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 4 - Probation                                                                           (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment—Page        2      of          5
DEFENDANT:     ROSE MCCLA1N
CASE NUMBER: 1 :07cr210-02-MHT
                                                                PROBATION
The defendant is hereby sentenced to probation for a term of:

2 Years




The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court.
X The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
Li The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
Li The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
               If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
       Schedule of Payments sheet of this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court as well as with the additional
conditions on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
 3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
 5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant shall notifi the probation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
11)     the defendant shall notif' the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm
        the defendant's compliance with such notification requirement.
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AO 245C   (Rev. 06/05) Amended Judgment in a Criminal Case
          Sheet 4C Probation                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                            Judgment—Page       3      of          5
DEFENDANT:               ROSE MCCLAIN
CASE NUMBER:             1 :07cr210-02-MHT

                                      SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall provide the probation officer any requested financial information.
2. The defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
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AO 245C     (Rev. 06/05) Amended Judgment in a Criminal Case
            Sheet 5 - Criminal Monetary Penalties                                                          (NOTE: ldentif' Changes with Asterisks (*))
                                                                                                    Judgment - Page      4      of            5

DEFENDANT:                        ROSE MCCLAIN
                                  1 :07cr210-02-MHT
CASE NUMBER:
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                          Fine                             Restitution
TOTALS            $ 100                                            $                                    $ 4,000


LI The determination of restitution is deferred until                  An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

LI The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
     in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                               Total Loss*                          Restitution Ordered                  Priority or Percenta2e
FEMA                                                                                   $4,000.00
Post Office Box 70941
Charlotte, NC 28272-0941




TOTALS                                                                                  4000.00


LI Restitution amount ordered pursuant to plea agreement $

LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 maybe subject
     to penalties for delinquency and default, pursuant to 18 U. S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
     X the interest requirement is waived for LI fine                  X restitution.
     Li the interest requirement for the LI fine               LI restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 1 bA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
 AO 245C
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             (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 6    Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment - Page        5      of         5
 DEFENDANT:                 ROSE MCCLA1N
 CASE NUMBER:               1 :07cr210-02-MHT


                                                     SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:
 A x Lump sum payment of$ 4,1000.00                             due immediately, balance due

           Li not later than ___________________________ , or
           Li in accordance with Li C, Li D, [I] E, or Li F below; or

B x Payment to begin immediately (may be combined with Li C,                         Li D, or x F below); or

 C LI Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
        ___________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after the date of this judgment; or
D LI Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ __________ over a period of
   ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
     term of supervision; or

E Li Payment during the term of supervised release will commence within _________ (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F x Special instructions regarding the payment of criminal monetary penalties:
           All criminal monetary penalty payments shall be made to the Clerk, United States District Court, Middle District of Alabama,
           Post Office Box 711, Montgomery, Alabama 36101. Restitution shall be paid at the rate not less than of $25 per month.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




Li Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




Li The defendant shall pay the cost of prosecution.

Li The defendant shall pay the following court cost(s):

Li The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
